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BWB:NDB
F.#2015R02123

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-    -   -     -   -        -   - -   -   -   -   -   -   -X

UNITED STATES OF AMERICA                                        SUPERSEDING
                                                                INDICTMENT
             - against -
                                                                Cr. No. 16-021 (S-1) (LDH)
XAVIER ONEAL,
                                                                (T. 18, U.S.C., §§ 1951(a),
     also known as "Nico,"
                                                                 981(a)(l)(C), 2 and 3551 et~.; T.
ARTHUR SAM,                                                      21, U.S.C., § 853(p); T. 28, U.S.C.
     also known as "16," and
                                                                 § 2461(c))
DANE PHILLIP,                                                                                 ..
                                                                                            .. -
    also known as "JD,"

                                 Defendants.                                                   -..:
                                                  -   -   -X

THE GRAND JURY CHARGES:                                                                       -..
                                                  COUNT ONE
                                          (Hobbs Act Robbery Conspiracy)

                       1.        On or about and between April 15, 2015 and December 8, 2015, both

dates being approximate and inclusive, within the Eastern District ofNew York and elsewhere,

the defendants XAVIER ONEAL, also known as "Nico," ARTHUR SAM, also known as

"16," and DANE PHILLIP, also known as "JD," together with others, did knowingly and

intentionally conspire to obstruct, delay and affect commerce, and the movement of articles

and commodities in commerce, by robbery, to wit: the robbery of commercial merchandise

from employees of jewelry and cellular telephone stores.

                       (Title 18, United States Code, Sections 195 l(a) and 3551 et seq.)
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                                       COUNT TWO
                                    (Hobbs Act Robbery)

              2.      On or about April 15, 2015, within the Eastern District ofNew York, the

defendants XAVIER ONEAL, also known as "Nico," and ARTHUR SAM, also known as

"16," together with others, did knowingly and intentionally obstruct, delay and affect

commerce, and the movement of articles and commodities in commerce, by robbery, to wit:

the robbery of commercial merchandise from employees of the Kay Jewelers store located at

5376 Avenue U, Brooklyn, New York.

              (Title 18, United States Code, Sections 195l(a), 2 and 3551 et seq.)

                                      COUNT THREE
                                    (Hobbs Act Robbery)

              3.      On or about May 2, 2015, within the Eastern District of New York, the

defendants XAVIER ONEAL, also known as "Nico," and ARTHUR SAM, also known as

"16," together with others, did knowingly and intentionally obstruct, delay and affect

commerce, and the movement of articles and commodities in commerce, by robbery, to wit:

the robbery of commercial merchandise from employees of the T-Mobile store located at 1869

Utica A venue, Brooklyn, New York.

              (Title 18, United States Code, Sections 1951 (a), 2 and 3551 et seq.)

                                      COUNT FOUR
                                    (Hobbs Act Robbery)

              4.     On or about May 12, 2015, within the Eastern District of New York, the

defendants XAVIER ONEAL, also known as "Nico," and ARTHUR SAM, also known as

"16," together with others, did knowingly and intentionally ob~truct, delay and affect
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commerce, and the movement of articles and commodities in commerce, by robbery, to wit:

the robbery of commercial merchandise from employees of the Kay Jewelers store located at

5376 Avenue U, Brooklyn, New York.

              (Title 18, United States Code, Sections 1951(a), 2 and 3551 et seq.)

                                       COUNT FIVE
                                    (Hobbs Act Robbery)

              5.     On or about May 15, 2015, within the Eastern District of New York, the

defendants XAVIER ONEAL, also known as "Nico," and ARTHUR SAM, also known as

"16," together with others, did knowingly and intentionally obstruct, delay and affect

commerce, and the movement of articles and commodities in commerce, by robbery, to wit:

the robbery of commercial merchandise from employees of the T-Mobile store located at 862

Remsen Avenue, Brooklyn, New York.

              (Title 18, United States Code, Sections 1951(a), 2 and 3551 et seq.)

                                       COUNT SIX
                                    (Hobbs Act Robbery)

              6.     On or about May 19, 2015, within the Eastern District of New York, the

defendants XAVIER ONEAL, also known as "Nico," ARTHUR SAM, also known as "16,"

and DANE PIDLLIP, also known as "JD," together with others, did knowingly and

intentionally obstruct, delay and affect commerce, and the movement of articles and

commodities in commerce, by robbery, to wit: the robbery of commercial merchandise from

employees of the T-Mobile store located at 212 East 98th Street, Brooklyn, New York.

            (Title 18, United States Code, Sections 195l(a), 2 and 3551 et seq.)

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                                        COUNT SEVEN
                                 (Attempted Hobbs Act Robbery)

               7.     On or about June 3, 2015, within the Eastern District of New York, the

defendants XAVIER ONEAL, also known as "Nico," ARTHUR SAM, also known as "16,"

and DANE PHILLIP, also known as "JD," together with others, did knowingly and

intentionally attempt to obstruct, delay and affect commerce, and the movement of articles and

commodities in commerce, by robbery, to wit: the attempted robbery of commercial

merchandise from employees of the Verizon store located at 191-30 N011hem Boulevard,

Queens, New York.

              (Title 18, United States Code, Sections 1951(a), 2 and 3551 et seq.)

                           CRIMINAL FORFEITURE ALLEGATION

               8.     The United States hereby gives notice to the defendants XAVIER

ONEAL, also known as "Nico," ARTHUR SAM, also known as "16," and DANE PHILLIP,

also known as "JD," that, upon their conviction of any of the above-charged offenses, the

government will seek forfeiture in accordance with Title 18, United States Code, Section

981(a)(l)(C) and Title 28, United States Code, Section 2461(c), which require any person

convicted of such offenses to forfeit any property, real or personal, which constitutes or is

derived from proceeds traceable to such offenses.

              9.      If any of the above-described forfeitable property, as a result of any act

or omission of the defendants:

                      a.     cannot be located upon the exercise of due diligence;

                      b.     has been transferred or sold to, or deposited with, a third party;
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                      c.      has been placed beyond the jurisdiction of the court;

                      d.      has been substantially diminished in value; or

                      e.      has been commingled with other property which cannot be

divided without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of the defendants up to the value of the forfeitable

property described in this forfeiture allegation.

               (Title 18, United States Code, Section 981(a)(l)(C); Title 21, United States

Code, Section 853(p); Title 28, United States Code, Section 2461(c))

                                                                    A TRUE BILL




ROBERTL. C     S
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK




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